Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 1 of 15 PageID #: 1959




         EXHIBIT M
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 2 of 15 PageID #: 1960



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS

 DARELTECH, LLC,

         Plaintiff,

 v.                                                           No. 4:18-CV-00702-ALM
 SAMSUNG ELECTRONICS CO., LTD., et al.,                       JURY TRIAL DEMANDED
         Defendants.


                      DEFENDANTS’ SUPPLEMENTAL P.R. 4-3(b) DISCLOSURE

                                    OF DR. TAJANA ROSING

 I.      Subject Matter on which Dr. Rosing is Expected to Present Evidence

         A.       General Information

         Dr. Rosing may provide evidence regarding her educational and professional background,

 which is reflected in her curriculum vitae. Dr. Rosing may provide evidence regarding her

 publications, patents, speaking engagements, honors, and awards, which are also reflected in her

 curriculum vitae. Dr. Rosing may provide evidence regarding her experience in the fields of

 energy-efficient system design and utilization, displays, UI/GUI systems, and power consumption

 management.

         Dr. Rosing may provide evidence regarding the view of a person of ordinary skill in the art

 (“POSITA”) at the time of the claimed invention of the disputed terms based on the requirements

 of the law as it pertains claim construction. In particular, Dr. Rosing may provide evidence

 regarding what a term in the claims would mean to a POSITA at the time of the claimed inventions,

 in the context of the intrinsic evidence (e.g., claim in which they occur, the specification of the

 patent, and its prosecution history) as well as any relevant extrinsic evidence.




 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 3 of 15 PageID #: 1961



         B.       Level of Skill of A Person of Ordinary Skill in the Art

         Dr. Rosing may provide evidence regarding the qualifications of a POSITA at the time of

 the claimed inventions.      In particular, Dr. Rosing may provide evidence regarding her

 understanding that, for each of the Asserted Patents, a POSITA would have had at least the

 equivalent of a four-year degree in electrical engineering, computer engineering, or computer

 science, and one year of experience in user interface software or system design, at the time of the

 claimed inventions.

         C.       Technology Overview

         Dr. Rosing may provide an overview of technologies relevant to the Asserted Patents. In

 particular, Dr. Rosing may provide evidence regarding display technologies, types of display

 technologies used in electronic devices, and the history and evolution of display technologies up

 to and including at the time of the claimed inventions. Similarly, Dr. Rosing may provide evidence

 regarding touch screen technologies, types of touch screen technologies used in electronic devices,

 and the history and evolution of touch screen technologies up to and including at the time of the

 claimed inventions. Dr. Rosing may provide evidence regarding known techniques for managing

 power consumption in electronic devices, including mobile devices, devices having displays, and

 devices having touch screens.

         Dr. Rosing may provide evidence regarding power consumption management in electronic

 devices, including mobile devices, devices having displays, and devices having touch screens.

 Dr. Rosing may provide evidence regarding the development, implementation, and effectiveness

 of various power consumption management techniques.           Dr. Rosing may provide evidence

 regarding techniques for managing power consumption in mobile devices that were known at the

 time of the claimed inventions.


                                                 2

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 4 of 15 PageID #: 1962



         Dr. Rosing may provide evidence regarding user interface technology. Dr. Rosing may

 provide evidence regarding hardware and software upon which such user interface technology was

 built, both prior to and at the time of the claimed inventions. Dr. Rosing may provide evidence

 regarding ways for users to interact with mobile devices that were known at the time of the claimed

 inventions, and may provide evidence regarding the effects of such user interactions.

         D.       The Asserted Patents

         Dr. Rosing may provide an overview of the subject matter discussed in each of U.S. Patent

 Nos. 8,593,427 (“the ’427 Patent”); 8,717,328 (“the ’328 Patent”); and 9,075,612 (“the ’612

 Patent”) (collectively “the Asserted Patents”).

         E.       Legal Standard for Claim Construction

         Dr. Rosing may discuss legal principles provided to her by counsel that she applied in her

 analysis, including the following.

                  1.      Plain and Ordinary Meaning

                 The words of a claim are generally given their ordinary and customary meaning.

                 The ordinary and customary meaning of a claim term is the meaning that the term

                  would have to a POSITA at the time of the invention, i.e., as of the effective filing

                  date of the patent application.

                 “Customary meaning” refers to the customary meaning in the art field.

                  2.      Intrinsic Evidence

                 The proper definition of a claim term is the definition a POSITA could ascertain

                  from the intrinsic evidence.

                 It is through the eyes of a POSITA that the claims are construed. Such POSITA is

                  deemed to read the words used in the patent documents with an understanding of


                                                    3

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 5 of 15 PageID #: 1963



                  their meaning in the field, and to have knowledge of any special meaning and usage

                  in the field.

                 The intrinsic evidence is not only the claim term in the context of the particular

                  claim in which the disputed term appears, but in the context of the entire patent,

                  including the specification and prosecution history.

                 An inventor is free to be his or her own lexicographer, and use terms in a manner

                  contrary to or inconsistent with one or more of their ordinary meanings. However,

                  when acting as lexicographer, an inventor must clearly redefine a claim term so as

                  to put one reasonably skilled in the art on notice that the inventor intended to so

                  redefine that claim term. Any departure from the ordinary meaning of a term must

                  be done with reasonable clarity, deliberateness, and precision.

                  3.       Extrinsic Evidence

                 Although the intrinsic evidence is most important in claim construction, extrinsic

                  evidence may also be helpful in understanding the meaning of a claim term.

                 Extrinsic evidence is all evidence external to the patent and prosecution history,

                  including inventor testimony, dictionaries, and learned treatises.

                 While extrinsic evidence can shed useful light on the relevant art, it is less significant

                  than the intrinsic record in determining the legally operative meaning of claim

                  language.

                 Because dictionaries, and especially technical dictionaries, endeavor to collect the

                  accepted meanings of terms used in various fields of science and technology, those

                  resources have been properly recognized as among the many tools that can assist the




                                                      4

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 6 of 15 PageID #: 1964



                  court in determining the meaning of particular terminology to those of skill in the

                  art of the invention.

                 Expert testimony can be useful to a court for a variety of purposes, such as to provide

                  background on the technology at issue, to explain how an invention works, to ensure

                  that the court's understanding of the technical aspects of the patent is consistent with

                  that of a person of skill in the art, or to establish that a particular term in the patent

                  or the prior art has a particular meaning in the pertinent field.

                  4.      Means-Plus-Function

                 An element (or term) in a claim can be expressed as a means or step for performing

                  a specified function without the recital of structure, material, or acts described in the

                  specification (i.e., a means-plus-function term).

                 An element with the words “means for” has a presumption that it is a means-plus-

                  function term.

                 An element does not necessarily have to have the words “means for” to be a means-

                  plus-function term.

                 However, when the words “means for” are not used, there is a rebuttable

                  presumption that is it not a means-plus-function term.

                 The test is whether the words of the element are understood by persons of ordinary

                  skill in the art to have a sufficiently definite meaning as the name for structure.

                 That is, when an element lacks the word “means,” the rebuttable presumption can

                  be overcome (i.e., the element will be considered a means-plus-function term) if it

                  is demonstrated that the claim term fails to “recite sufficiently definite structure” or




                                                      5

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 7 of 15 PageID #: 1965



                  else recites “function without reciting sufficient structure for performing that

                  function.”

                 Construing a means-plus-function claim term is a two-step process: the court must

                  first identify the claimed function(s); then the court must determine what structure,

                  if any, disclosed in the specification corresponds to the claimed function(s).

                 Where there are multiple claimed functions, the patentee must disclose adequate

                  corresponding structure to perform all of the claimed functions.

                 Structure disclosed in the specification is the corresponding structure only if the

                  written description of the specification or the prosecution history clearly links or

                  associates that structure to the function recited in a means-plus-function claim

                  limitation.

                 The proper test for meeting the definiteness requirement is that the corresponding

                  structure (or material or acts) of a means-plus-function limitation must be disclosed

                  in the specification itself in a way that one skilled in the art will understand what

                  structure (or material or acts) will perform the recited function.

                 Even if the specification discloses corresponding structure, the disclosure must be

                  of “adequate” corresponding structure to achieve the claimed function(s).

                 If the specification does not disclose corresponding structure, material, or acts for

                  performing the specified function, then the claim shall be found to be indefinite.

                 “[A] bare statement that known techniques or methods can be used does not disclose

                  structure” in the context of a means-plus-function limitation.




                                                     6

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 8 of 15 PageID #: 1966



 II.     Summary of the Facts and Opinions to which Dr. Rosing is Expected to Provide
         Evidence

         Dr. Rosing may provide evidence regarding her opinion of how a POSITA would

 understand the terms of the claims in the Asserted Patents, in view of the intrinsic and extrinsic

 evidence. Dr. Rosing may provide evidence regarding her opinions as to the proper constructions

 of terms, phrases, and clauses that appear in the claims of the Asserted Patents, including but not

 limited to the terms, phrases and clauses specifically identified below. Dr. Rosing may also

 provide evidence in response or in rebuttal to any arguments or expert testimony offered by

 Plaintiff.

         In offering her opinions, Dr. Rosing may reference information from various sources

 including her three decades of educational and professional experience in the fields of energy-

 efficient system design and utilization, and power consumption management. Dr. Rosing may

 reference the Asserted Patents and their file histories. Dr. Rosing may reference prior art, including

 prior art described in the Asserted Patents themselves, prior art considered by the Patent Office

 during prosecution of the Asserted Patents, and prior art identified by Defendants in their Invalidity

 Contentions. Dr. Rosing may reference the Parties’ Joint Claim Construction and Prehearing

 Statement and the intrinsic and extrinsic evidence identified therein. Dr. Rosing may reference

 the general knowledge of a POSITA at the time of the claimed inventions. Dr. Rosing may

 reference claim construction briefs and any accompanying declarations filed by the Parties in this

 case.

         A.       “mathematically upscaling”

         Dr. Rosing may provide evidence regarding her opinion that a POSITA would understand

 that, as recited in the claims of the ’427 Patent, the term “mathematically upscaling” means “using



                                                   7

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 9 of 15 PageID #: 1967



 mathematical techniques to make a displayed image larger.” Dr. Rosing may opine that the

 specifications of the Asserted Patents do not define “mathematically upscaling.”

         Dr. Rosing may provide evidence regarding mathematical upscaling techniques that were

 known at the time of the claimed inventions. Dr. Rosing may provide evidence regarding purposes

 behind using such mathematical upscaling techniques. For example, Dr. Rosing may opine that,

 at the time of the claimed inventions, a POSITA would have understood that mathematical

 upscaling techniques would have included employing an algorithm by which additional pixels

 were generated and incorporated into a displayed image, so that a larger version of that same image

 could be displayed.     See, e.g., Ex. B to Joint Claim Construction and Prehearing Statement (D.I.

 35-2), including without limitation:

                 Sept. 5, 2013 Office Action for U.S. Pat. App. No. 13/905,064, 12-13 (’427 Patent

                  File History).

                 U.S. Pat. App. Pub. No. 2010/0088634 to Tsuruta et al., Figs. 7, 44, ¶¶ [0060],

                  [0333], [0431] (SAMSUNGDT00029069-144).

                 Askar et al., Fast Adaptive Upscaling of Low Structured Images Using a

                  Hierarchical Filling Strategy, VIPromCom-2002, 4th EURASIP, 16-19 June 2002,

                  p. 289 (SAMSUNGDT00027549-554).

                 Reddy, Enlargement of Image Based Upon Interpolation Techniques, International

                  Journal of Advanced Research in Computer and Communication Engineering,

                  Vol. 2, Issue 12, December 2013, p. 4632 (SAMSUNGDT00028078-087).

                 Kopf et al., Depixelizing Pixel Art, ACM Transactions on Graphics, July 2011

                  (SAMSUNGDT00027726-734).

                 Image Scaling - Wikipedia (https://en.wikipedia.org/wiki/Image_scaling).

                                                  8

 US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 10 of 15 PageID #: 1968



          Dr. Rosing may provide evidence regarding the application of mathematical upscaling

  techniques to devices such as those described in the Asserted Patents. See, e.g., Ex. B to Joint

  Claim Construction and Prehearing Statement (D.I. 35-2), including without limitation

  DARELTECH_0000872; DARELTECH_0000873-937. Dr. Rosing may also opine regarding

  Plaintiff’s proposed construction, including that the proposed construction has no relationship to a

  POSITA’s understanding of “mathematically upscaling” and that Plaintiff’s proposed construction

  is not supported by any evidence (intrinsic or extrinsic) that could be understood by a POSITA.

          B.       “a second portion of the display screen and associated sensors, which is
                   configured in a powered-off state and incapable of receiving user input” /
                   “incapable of receiving user input”

          Dr. Rosing may provide evidence regarding her opinion that a POSITA would understand

  that, as recited in the claims of the ’427 Patent and the ’328 Patent, the phrase “a second portion

  of the display screen and associated sensors, which is configured in a powered-off state and

  incapable of receiving user input” means “a second portion of the display screen and associated

  sensors, both of which are in a state where no power is applied and not capable of detecting

  a touch from the user,” and that the phrase “incapable of receiving user input” means “not

  capable of detecting a touch from the user.”

          Dr. Rosing may provide evidence that, during prosecution of the ’427 Patent, the applicants

  proposed amending the independent claims to recite turning off touch detection sensors of the

  display screen, which are incapable of receiving user input in the second portion of the display

  screen, and that the claims of the ’427 and ’328 Patents were amended in accordance with that

  proposal. See, e.g., Ex. B to Joint Claim Construction and Prehearing Statement (D.I. 35-2),

  including without limitation:




                                                   9

  US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 11 of 15 PageID #: 1969



                   Oct. 4, 2013 Examiner-Initiated Interview Summary for U.S. Pat. App.

                    No. 13/905,064 (’427 Patent File History).

                   Oct. 4, 2013 Notice of Allowability for U.S. Pat. App. No. 13/905,064 (’427 Patent

                    File History) at 2-5.

                   Feb. 7, 2014 Amendment for U.S. Pat. App. No. 14/058,731 (’328 Patent File

                    History) at 2, 5, 8.

          Dr. Rosing may provide evidence regarding technical aspects of display screens and touch

  sensors. For example, Dr. Rosing may provide evidence regarding various processes by which

  information may be displayed on a device, and the hardware and software involved in carrying out

  those processes. Dr. Rosing may also provide evidence regarding various processes by which a

  device detects and responds to a user’s touch input, and the hardware and software involved in

  carrying out those processes.

          Dr. Rosing may provide evidence that, at the time the Asserted Patents were filed,

  techniques for powering on touch sensors associated with a first portion of a display screen while

  powering off touch sensors associated with a second portion of a display screen were known. See,

  e.g., Ex. B to Joint Claim Construction and Prehearing Statement (D.I. 35-2), including without

  limitation:

                   U.S. Pat. App. Pub. No. 2013/0265243 to Law, Fig. 4, ¶¶ [0010], [0024], [0027],

                    [0030], [0032], [0044]-[0045], [0047], [0051], [0052] (SAMSUNGDT00030046-

                    059).

                   U.S. Pat. App. Pub. No. 2013/0016046 to Chou, ¶¶ [0008]-[0010], [0013]-[0016],

                    [0022]-[0025], [0028], [0041], [0048]-[0050], [0054] (SAMSUNGDT00029673-

                    683).

                                                    10

  US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 12 of 15 PageID #: 1970



          C.       “graphical content data structure”

          Dr. Rosing may provide evidence regarding her opinion that a POSITA would understand

  that, as recited in the claims of the ’427 Patent and the ’328 Patent, the term “graphical content

  data structure” means “an organized collection of graphics data.” Dr. Rosing may provide

  evidence regarding her opinion that a POSITA would understand the term “graphical content data

  structure” to have a sufficiently definite meaning as the name of a structure. See, e.g., Ex. B to

  Joint Claim Construction and Prehearing Statement (D.I. 35-2), including without limitation:

                  Merriam-Webster’s         Collegiate      Dictionary,      11th       ed.      (2009)

                   (SAMSUNGDT00031313-315) (defining “data structure” as “any of various

                   methods or formats (as an array, file, or record) for organizing data in a computer”).

          Dr. Rosing may provide evidence regarding her opinion that, to the extent the Court finds

  that the term “graphical content data structure” does not have a sufficiently definite meaning as

  the name of a structure, the specifications of the ’427 Patent and the ’328 Patent do not otherwise

  link or disclose corresponding structure that performs any recited functions of the claimed

  graphical content data structure. Dr. Rosing may provide evidence regarding the use of graphical

  data in computing generally. More specifically, Dr. Rosing may provide evidence regarding the

  use of graphical data in connection with devices configured to display graphical content, such as

  those described in the Asserted Patents. Dr. Rosing may provide evidence that Plaintiff’s proposed

  construction is not supported by the specification.

          D.       “unlock image”

          Dr. Rosing may provide evidence regarding her opinion that a POSITA would understand

  that, as recited in the claims of the ’612 Patent, the term “unlock image” means a “graphical

  image on the display that may be used to unlock the device.” Dr. Rosing may provide evidence

  regarding ways in which unlock images have been used in devices such as those described in the
                                              11

  US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 13 of 15 PageID #: 1971



  Asserted Patents. See, e.g., Ex. B to Joint Claim Construction and Prehearing Statement (D.I. 35-

  2), including without limitation:

                  U.S. Patent No. 8,046,721 to Chaudri et al., at 10:52-54.        See U.S. Patent

                   No. 7,657,849 to Chaudri et al. (“Chaudri ’849”), at 10:46-48, produced at

                   SAMSUNGDT0030536-566; see also Chaudri ’849 at Abstract, Figs. 2, 3, 4A, 4B,

                   5A, 5B, 5C, 7A, 7B, 7C, 7D, 9, 10, 11A, 11B, 11C, 11E, 8:40-13:67, 15:36-16:15,

                   16:46-19:4 (SAMSUNGDT0030536-566).

                  U.S. Pat. App. Pub. No. 2014/0120988 to Gunn et al., Figs. 4B, 4C, 5B, 5C,

                   ¶¶ [0015], [0046], [0059] (SAMSUNGDT00030133-166).

                  U.S. Pat. App. Pub. No. 2013/0080960 to McRae et al., Figs. 4, 5, ¶¶ [0015], [0017]

                   (SAMSUNGDT00029695-706).

          E.       “power management module”

          Dr. Rosing may provide evidence regarding her opinion that a POSITA would understand

  that, as recited in the claims of the ’612 Patent, the term “power management module” means “a

  module that manages power.” Dr. Rosing may provide evidence regarding her opinion that a

  POSITA would understand the term “power management module” to have a sufficiently definite

  meaning as the name of a structure.

          Dr. Rosing may provide evidence regarding her opinion that, to the extent the Court finds

  that the term “power management module” does not have a sufficiently definite meaning as the

  name of a structure, the specification of the ’612 Patent does not otherwise link or disclose

  corresponding structure that performs any of the recited functions of the claimed power

  management module, namely, “direct[ing] the display to display a set of a plurality of graphical

  indications in color in a full configuration mode that puts substantially all of the display of the


                                                    12

  US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 14 of 15 PageID #: 1972



  portable phone in a powered-on state” and “directing the display … to display a subset of the

  plurality of graphical indications, the subset comprising an unlock image comprising at least one

  of, time, date, or an indication of an email, text message, or voice message, and wherein the subset

  of the plurality of graphical indications are displayed in a portion of the display and are displayed

  in black, white or grayscale, instead of displayed in color.”

          Dr. Rosing may provide evidence regarding various processes for managing power in a

  mobile device, and the hardware and software involved in such processes. Dr. Rosing may provide

  evidence that Plaintiff’s proposed construction is not supported by the specification.



  Dated: October 14, 2019                       /s/ Jin-Suk Park
                                                Jin-Suk Park
                                                jin.park@arnoldporter.com
                                                ARNOLD & PORTER KAYE SCHOLER LLP
                                                601 Massachusetts Ave., NW
                                                Washington, DC 20001-3743
                                                Telephone: (202) 942-5000
                                                Facsimile: (202) 942-5555

                                                Ryan M. Nishimoto
                                                ryan.nishimoto@arnoldporter.com
                                                ARNOLD & PORTER KAYE SCHOLER LLP
                                                777 South Figueroa Street, 44th Floor
                                                Los Angeles, CA 90017-5844
                                                Telephone: (213) 243-4000
                                                Facsimile: (213) 243-4199

                                                -and-

                                                Roger D. Sanders
                                                SANDERS, O’HANLON, MOTLEY & YOUNG
                                                111 S. Travis Street
                                                Sherman, TX 75090
                                                Telephone: (903) 892-9133
                                                Facsimile: (903) 892-4302




                                                   13

  US 166926838v7
Case 4:18-cv-00702-ALM Document 38-13 Filed 11/04/19 Page 15 of 15 PageID #: 1973



                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 14, 2019, I caused a true and correct copy of this

  document to be served on all counsel of record for the Plaintiff via e-mail.

  Date: October 14, 2019                                By:    /s/ Jin-Suk Park
                                                        Jin-Suk Park




                                                   14

  US 166926838v7
